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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

     ANGELA C. TURNER,

           Plaintiff,                                   Case No. 4:17-cv-00662-ALM
     v.
                                                        Honorable Judge Amos L. Mazzant
     PARAMOUNT RECOVERY SERVICES,
     L.P.,

          Defendant.


                            ORDER OF DISMISSAL WITH PREJUDICE

           Plaintiff, ANGELA C. TURNER (“Plaintiff”), by and through her attorneys, Sulaiman Law

    Group, having filed with this Court her Agreed Stipulation of Dismissal with Prejudice and the

    Court having reviewed same, now finds that this matter should be dismissed.

.          IT IS THEREFORE ORDERED by this Court that the above cause of action is

    hereby dismissed, with prejudice.

           All relief not previously granted is hereby denied.

           The Clerk is directed to close this civil action.

           SIGNED this 14th day of November, 2018.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
